Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page11of
                                                            of14
                                                               14




                 EXHIBIT 4
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page22of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page33of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page44of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page55of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page66of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page77of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page88of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page99of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page10
                                                          10of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page11
                                                          11of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page12
                                                          12of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page13
                                                          13of
                                                            of14
                                                               14
Case
Case3:17-cv-00939-WHA
     3:17-cv-00939-WHA Document
                       Document589-18 Filed04/28/17
                                309-4 Filed 06/12/17 Page
                                                     Page14
                                                          14of
                                                            of14
                                                               14
